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Ilinois Anti-Predatory
Lending Database
Program Wn

Certificate of Exemption

 

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Doc#: 1602156229 Fee: $52.00
RHP F ee$9.00 RPRF Fee: $1.00
Karen A. Yarbrough

Cook County Recorder of Deeds

Date: 01/21/2016 G2:29 PM Py: 1 ot A

 

Report Mortgage Fraud
800-532-8785

The property identified as: PIN: 20-25-310-008-0000
Address:
Street: 7625 S East End

Street line 2:
City: Chicago State: IL ZIP Code: 60649

Lender, The Persons Listed on Exhibit A to the Mortgage c/o EquityBuitd Finance, LLC

Borrower: EquityBuild, Inc

Loan / Mortgage Amount: $1,605,749.00

This property is located within the program area and is exempt from the requirements of 765 ILCS 77/70 et seq. because
it is not owner-occupied.

 

Certificate number: E62AC738-1 D7B-4C55-8FE1-SAEBE1BC 1338 Execution date: 10/29/2015

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[The Above Space For Recorder's Use Only]

 

MORTGAGE

THIS MORTGAGE (“Security Instrument") is given on October 29'», 2015. The mortgagor is
EquityBuild, Inc. ("Borrower"),

This Security Instrument is given to The Persons Listed on Exhibit A to the Mortgage C/O
EquityBuild Finance, LLC whose address is 5068 West Plano Pkwy. #300 Plano, TX 75093
("Lender").

final payment of the full debt, if not paid earlier, due and payable November 1%, 2017. This
Security Instrument secures to Lender:

(a) the repayment of the debt evidenced by the Note, with interest, and all renewals, extension and
modifications; (b) the payment of all other sums, with interest advanced under Paragraph 7 to protect

PIN: 20-25-310-008-0000

which has the address of 7625 S East End, Chicago, iL 60649 ("Property Address"):
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BORROWER COVENANTS that Borrower is lawfully seized of the estate hereby conveyed

unencumbered, except for encumbrances of record. Borrower warrants and will defend generally the
title to the Property against all claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-
uniform covenants with limited variations by jurisdiction to constitute a uniform security instrument
covering real property.

UNIFORM COVENANT. Borrower and Lender covenant and agree as follows:

1. Payment of Principal and Interest; Prepayment and Late Charges. Borrower shail promptly
pay when due the principal of and interest on the debt evidenced by the Note and any prepayment
and late charges due under the Note.

2. Hazard Insurance. Borrower shall keep the improvements now existing or hereafter erected
on the Property insured against loss by fire, hazards included within the term "extended coverage"
and any other hazards for which Lender requires insurance. This insurance shal! be maintained in the
amounts and for the periods that Lender requires. The insurance carrier providing the insurance shall
be chosen by Borrower subject to Lender's approval which shall not be unreasonably withheld.

Ail insurance policies and renewals shall be acceptable to Lender and shall include a standard
mortgage clause. Lender shall have the right to hold the policies and renewals. If Lender requires

Uniess Lender and Borrower otherwise agree in writing, insurance proceeds shall be applied
to restoration and repair of the Property damaged, if the restoration or repair is economicaily feasible
and Lender's security is not lessened. If the restoration or repair is not economically feasible or
Lender's security would be lessened, the insurance proceeds shall be applied to the sums secured

Unless Lender and Borrower otherwise agree in writing, any application of Proceeds to
principal shall not extend or postpone the due date of the monthly payments referred to in
paragraphs 1 and 2 or change the amount of the payments. If under paragraph 19 the property is

3, Preservation and Maintenance of Property; Leaseholds. Borrower shall not destroy, damage
or substantially change the Property, allow the Property to deteriorate or commit waste. If this
Security Instrument is on a leasehold, Borrower shall comply with the provisions of the lease, and if
Borrower acquires fee title to the Property, the leasehold and fee title shall not merge unless Lender
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4. Protection of Lender's Rights in the Property; Mortgage insurance. If Borrower fails to
perform the covenants and agreements contained in this Security Instrument, or there is a legal
proceeding that may Significantly affect Lender's rights in the Property (such as a proceeding in
bankruptcy, probate, for condemnation or to enforce laws or regulations), then Lender may do and

7. Governing Law: Severability. This Security Instrument shall be governed by federal law and
the law of jurisdiction in which the Property is located. in the event that any provision or clause of this

8. Borrower's Copy. Borrower shall be given one conformed copy of the Note and of this
Security Instrument.

9. Transfer of the Property or a beneficial Interest in Borrower. If all or any part of the Property
or any interest in it is sold or transferred (or if a beneficial interest in Borrower is sold or transferred
and Borrower is not a natural person) without Lender's prior written consent, Lender may, at its

option, require immediate payment in full of ail sums secured by this Security instrument. However.

sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
Security Instrument without further notice or demand on Borrower.
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NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

10. Release. Upon payment of all sums secured by this Security instrument, Lender shall
release this Security Instrument without charge to Borrower. Borrower shall pay any recordation
costs.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
this Security Instrument and in any rider(s) executed by Borrower and recorded with it,

Signed, sealed and delivered in the presence of:

BORROWER: EquityBuild, Inc.

L Le. C—— (SEAL)
Jerry en, President

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we

{Space Below This Line For Acknowledgement]
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STATE OF FLORIDA, Manatee. County ss:

| hereby certify that on this day, before me, an officer duly authorized in the state aforesaid
and in the county aforesaid to take acknowledgements, personally appeared Jerry Cohen, to me
known to be the person described in and who executed the foregoing instrument and acknowledged
that he/she executed the same for the purpose therein expressed.

WITNESS my hand and official seal in the county and state aforesaid this VV day of
a 20/5,

   

My Commission expires; Sy dle, Qe C7

{Seal}

he Doe i ore A yay Ty ry Aa oN
Notary Public

 
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Exhibit A

 

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Lender Name Principal Amount Percentage of Loan

Brad & Linda Lutz $397,836 | EF gag
) Asians Investing in Real Estate, LLG $50,000 3.11%
; Self-Directed IRA Services inc. FBO David Geldart $107,362 6.69%
 iPlanGroup Agent for Custodian FBO Lorenzo Jaquias IRA $50,000 3.11%
} Edge Investments, LLC |S $176,226 10.97%
IRQW Hrvesties, LEC ag
PeterP Nuspl $217,100 13.52%
| Pittman Gold, LEC 9.34%
Steve Bald 3.11%
'iPlanGroup Agent for Custodian FBO Jacqueline Rowe IRA $200,000; 12.46%
Michael James Guilford and Nancy Richard-Guilford, jointly | en

$92,561 5.76%

with right of survivorship
| Knickerbocker, LLC aT 2.47%
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The North 6 feet of Lot 36 and all of Lots 37 to 40 in Block 11 in James Stinson's
Subdivision of East Grand Crossing in the Southwest 1/4 of Section 25, Township 38
North, Range 14, East of the Third Principal Meridian, in Cook County, Illinois
